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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

UNITED STATES OF AMERICA and
BARBARA BERNIER,

                      Plaintiffs,

v.                                                         Case No: 6:16-cv-970-Orl-37TBS

INFILAW CORPORATION and
CHARLOTTE SCHOOL OF LAW,
LLC,

                      Defendants.


            CASE MANAGEMENT AND SCHEDULING ORDER
       Upon consideration of the parties’ Case Management Report (Doc. 36), the Court

enters this Case Management and Scheduling Order (“CMSO”), which is designed to

secure the just, efficient, and inexpensive resolution of this action. Fed. R. Civ. P. 1, 16(b);

Local Rules 1.01(b), 3.05(c)(2)(D).

I.     OVERVIEW

       A.     Controlling Rules, Standards and Procedures

        All conduct related to this action must be civil, cooperative, conscientious, and in
strict compliance with the procedures, standards, and requirements set forth in this
CMSO, the Federal Rules of Civil Procedure (“Rules”), 1 the Local Rules, 2 the Court’s
Discovery Handbook, the Court’s Administrative Procedures for Electronic Filing
(“Filing Procedures”), and the Undersigned’s Case and Trial Management Preferences. 3


       1 In this CMSO, “Rule __” refers to a Federal Rule of Civil Procedure.
       2 The deadlines provided in this CMSO are consistent with recent changes to the
Federal Rules of Civil Procedure. Where such deadlines are inconsistent with the Local
Rules, the deadlines in this CMSO and the Federal Rules control. See Local Rule 1.01(b).
       3 Counsel also shall comply with the Ideals and Goals of Professionalism adopted

by the Board of Governors of the Florida Bar on May 16, 1990 (“Ideals”). The Ideals are
available at www.floridabar.org.
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The parties must carefully review the entirety of these materials, which are available at
the Court’s website:

        http://www.flmd.uscourts.gov/judicialInfo/Orlando/JgDalton.html,
              http://www.flmd.uscourts.gov/forms/forms_policies.htm,

                http://www.flmd.uscourts.gov/CMECF/default.htm, and

                http://www.flmd.uscourts.gov/CHtech/Orlando/ORL-CRtech.htm.

        B.      Sanctions

       The parties are cautioned that the Court will diligently enforce this CMSO, and—
when necessary—will exercise its inherent and explicit authority to sanction parties and
attorneys who violate the letter or spirit of the Court’s Rules and Orders. 4

        C.      Ex Parte Communications

       All ex parte communications concerning this action are prohibited—including
telephone calls to the Undersigned’s Chambers with requests for information or guidance
from the Court. Such requests raise constitutional and ethical concerns, 5 and they should
be unnecessary given the explicit instructions set forth in this CMSO and the wealth of
information available on the Court’s website. In the rare instance that a concern or
question remains after careful consideration of such materials, the parties may request
guidance from the Court in a motion filed with the Clerk of the Court. See Fed. R.
Civ. P. 7(b); Local Rule 3.01(f).

        D.      Deadlines

       For the convenience of the parties, a table summarizing important deadlines is
provided below. The table is merely a summary, and it must be considered in conjunction
with the entirety of the CMSO and other materials noted above (supra Part I.A).
                                       IMPORTANT NOTICE
  The Court will strictly enforce the deadlines set in this CMSO. Such deadlines are
  effective unless modified by a written Order. The parties may not modify the Court’s
  deadlines by any other means—including by an agreement that is not presented to and
  approved by the Court. Local Rule 4.15(a).

        4  See 28 U.S.C. § 1927; Fed. R. Civ. P. 11(c), 16(f), 26(g)(3), 37, 41(b), 83; Local Rules 2.04(g),
3.10(a); see also Chambers v. NASCO, Inc., 501 U.S. 32, 43–46 (1991); Roadway Exp., Inc. v. Piper, 447
U.S. 752, 764–65 (1980); Link v. Wabash R. Co., 370 U.S. 626, 629–30 (1962).
         5 See Code of Conduct for United States Judges, Canon 3A(4); Am. Coll. of Trial Lawyers,

Code of Pretrial & Trial Conduct, Obligations to the Court, Communication with the Court (2009);
see also Envtl. Def. Fund v. Alexander, 614 F.2d 474, 480–81 (5th Cir. 1980).

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                                 Event                                    Deadline

 Mandatory Initial Disclosures                                           November 30 2017

 Certificates of Interested Persons and Corporate Disclosure             Immediately if not
 Statements                                                                 previously file

 Motions to Add Parties or to Amend Pleadings                             December 1 2017


 Within fourteen (14) days of this CMSO, Designated Lead Counsel
 shall—after conferring with opposing counsel and the mediator—
 file a Notice with the Court advising of the date and location of the
 parties’ mediation, which shall occur on or before:
                                                            Deadline:        April 19 2019
                                                            Mediator:        Jay M. Cohen
 Expert Witness Disclosures and Reports                     Plaintiff:     October 8 2018
                                                           Defendant:    December 10 2018
 Completion of Discovery                                                     March 22 2019

 Summary Judgment, Daubert, and Markman Motions                               April 26 2019

 Pre-Trial Meeting (In Person)                                            September 3 2019


 Joint Final Pretrial Statement (“PTS”) and Trial Briefs
 Case Prepared for Trial
                                                                         September 12 2019
 **The parties must file the PTS (with all attachments) on CM/ECF
 and must e-mail editable copies of such documents (in Microsoft
 Word® format) to chambers_flmd_Dalton@flmd.uscourts.gov.
 A Single Motion In Limine and any other Motions                            August 28 2019

                                                                         September 19 2019
 Final Pretrial Conference
                                                                                10:00 a.m.

 Trial Materials (including Deposition Designations and Revised
 Witness Lists, Exhibit Lists, Voir Dire Questions, and Jointly
 Proposed Jury Instructions, and Jointly Proposed Verdict Form)
                                                                         September 26 2019
 **The parties must file the Trial Materials on CM/ECF and must
 e-mail editable copies of such documents (in Microsoft Word®
 format) to chambers_flmd_Dalton@flmd.uscourts.gov
 Commencement of the Jury Trial Term                                        October 7, 2019




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II.    DISCOVERY PROCEDURES AND LIMITATIONS

       A.     Certificate of Interested Persons and Corporate Disclosure Statement–
No party may seek discovery from any source before filing and serving a Certificate of
Interested Persons and a Corporate Disclosure Statement on the mandatory forms
previously provided to the parties. The Court may deny any filing—including an
emergency motion—if the filing party has not filed and served the Certificate of
Interested Persons and Corporate Disclosure Statement.

        B.     Depositions and Interrogatories – Absent leave of Court, the parties may:
(a) serve no more than twenty-five (25) interrogatories, including sub-parts (Fed. R. Civ.
P. 33(a)(1)); and (b) take no more than ten (10)depositions per side—not per party—
Fed. R. Civ. P. 30(a)(2)(A) & 31(a)(2)(A). Absent stipulation of the parties or leave of the
Court, each deposition is limited to one seven-hour day. Fed. R. Civ. P. 30(d)(1).

       C.     Production Requests – Requests for production of documents,
electronically stored information (“ESI”), and tangible things must be made in a
thoughtful, case-specific, and non-harassing fashion. See Fed. R. Civ. P. 26(b)(1),
34(b)(1)(B). The producing party shall conduct its production in the manner prescribed
by Rule 34(b)(2)(E).

       D.     Timing and Format of Discovery Requests – The parties are encouraged
to provide electronic copies of all discovery requests they serve on a party or a non-party.
Local Rule 3.03(e). The parties shall serve all discovery requests sufficiently in advance
of the discovery deadline so that any response will be due by the discovery deadline.

      E.     Responses and Objections to Discovery – Responses to discovery requests
must be timely, complete, and devoid of boilerplate, non-specific objections. Parties shall
promptly update or amend any incomplete or incorrect disclosure, response, objection,
or production. Fed. R. Civ. P. 26(e).

      F.    Prohibition on Filing Discovery with the Court – The parties shall not file
discovery materials with the Clerk except as provided in Local Rule 3.03(b), (c), and (d).

        G.     “Expert” Opinions – On or before the deadlines set forth in this CMSO, the
parties shall: (1) pursuant to Rule 26(a)(2)(A), disclose the identity of any witness who
may provide expert opinion evidence at trial (“Expert Witness”); (2) pursuant to
Rule 26(a)(2)(B), produce a written report (“Expert Report”) for any Expert Witness that
is retained or specially employed to provide expert testimony in this action, including
any party’s employee that regularly provides expert testimony; and (3) pursuant to Rule
26(a)(2)(C), produce a written disclosure (“Expert Disclosure”) for any other Expert
Witness. Any person who is not timely identified as an Expert Witness in accordance with
Rule 26(a)(2)(A) will be prohibited from offering expert opinion testimony at trial. On
direct examination at trial, the Court also will strictly limit the testimony of all Expert



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Witnesses to the matters that are fully and timely disclosed in an Expert Report or Expert
Disclosure.

        H.    Confidential Information – Stipulated motions for entry of a protective
order are discouraged and unnecessary because the Court will enforce a written
agreement to protect the confidentiality of information produced during discovery—
including by designating such information as “confidential”—so long as such agreement:
(1) includes the following statement: “No party shall file a document under seal unless
the Court previously granted a motion to file under seal which was submitted to the
Court in compliance with Local Rule 1.09.”; and (2) is signed by the necessary parties and
attorneys.

       I.      Agreements and Stipulations – Consistent with the terms of this CMSO
(supra Part I.D & Local Rule 4.15(a)), the parties may agree or stipulate to other discovery
procedures and limitations—including agreements concerning assertions of privilege
and inadvertent disclosure of materials that are subject to a privilege. See Fed. R.
Civ. P. 16(b)(3)(B)(iv); Fed. R. Evid. 502.

III.   MOTION PRACTICE

       A.     Good Faith Conference and Certification Requirement

                      DUTY TO CONFER – before filing a motion not exempted
              under Local Rule 3.01(g), the moving party shall engage in a
              substantive conversation with the opposing party—in person or by
              telephone—in a good faith effort to resolve the issues raised by the
              motion without Court intervention (“Good Faith Conference”).
              The duty to confer is not satisfied by mere correspondence—
              particularly an exchange of ultimatums through e-mails, letters, or
              facsimiles.

                     CERTIFICATION REQUIREMENT – if issues requiring
              Court intervention exist after the Good Faith Conference, the
              moving party shall file with the motion a statement certifying that
              the moving party has conferred with the opposing party and whether
              the parties agree on the resolution of the motion (“Certification
              Requirement”).




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                                     IMPORTANT NOTICE
  The Court will strictly enforce the Good Faith Conference and Certification
  Requirements. Failure to satisfy the Duty to Confer provides sufficient grounds for
  denial of a non-exempt motion and imposition of sanctions. Further, the Court will
  strike any non-exempt motion that is filed without a compliant Certification.



              1.      Exempt Motions – The Good Faith Conference and Certification
       Requirements are inapplicable to the following motions: (a) summary judgment
       under Rule 56(a); (b) class certification under Rule 23(c); (c) injunctive relief under
       Rule 65(a); (d) involuntary dismissal under Rule 41(b); (e) dismissal under
       Rule 12(b)(6); and (f) judgment on the pleadings under Rule 12(c). Although
       Rule 12(b)(6) Motions are exempt, before filing such a motion, moving parties
       must confer with opposing parties concerning the purported pleading
       deficiencies, and must not oppose a motion under Rule 15(a)(2) for leave to file a
       curative amended pleading.

              2.   Pro Se Parties – Although Local Rule 3.01(g) references “counsel,”
       parties who are proceeding without counsel (“Pro Se Parties”) also must fully
       comply with the Good Faith Conference and Certification Requirements.

               3.      Mere Attempts to Confer – Moving parties who unsuccessfully
       “attempt” to confer with opposing parties have not “conferred,.” A Certification
       to the effect that the opposing party was not available for a Good Faith Conference
       does not constitute compliance with the Certification Requirement.

              4.      Opposing Parties – Opposing parties—including Pro Se Parties—
       must promptly respond to requests for a Good Faith Conference, 6 and failure to
       do so will likely result in the imposition of sanctions. A response that occurs more
       than two business days after a request is not “prompt.”

       B.    Page Limits and Courtesy Copies – Absent prior leave of the Court, no
party may file a motion and supporting memorandum in excess of twenty-five (25)
pages, and no party may file a memorandum in opposition to a motion (“Response”) in
excess of twenty (20) pages. See Local Rule 3.01(a), (b).

              1.     Sanctions – The Court may strike from the record any filing that
       exceeds the page limits or seeks to evade the page limits in any way—including
       by incorporating other documents by reference or by submitting voluminous exhibits
       without pinpoint citations. (See infra Part III.D.)


       6   See Ideals, ¶ 6.10 and Creed of Professionalism ¶ 8; supra n.2.

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              2.      Requests to Exceed the Page Limit – Motions requesting leave to
       exceed the page limits or to file a reply or further memorandum are disfavored
       and will be stricken or denied unless the motion: (a) is no more than three (3) pages
       long; (b) specifies the length of the proposed filing; and (c) establishes good cause
       why the Court should grant the requested relief. The Motion must not include—
       as an attachment or otherwise—the proposed motion, response, reply, or other
       paper.

              3.    Courtesy Copies – Upon request, the parties shall provide the Court
       with courtesy hard copies of lengthy filings. Generally, courtesy copies should be
       provided when the Motion or Response is twenty-five (25) pages or longer
       (including exhibits).

       C.       Duplicative Filings Prohibited – Unless directed to do so by the Court, no
party shall file any document that is already part of the record. See Filing Procedures,
Part VI.A.4. The parties shall cite to documents already part of the record by providing
pinpoint citations to the Docket and page numbers for such filing (e.g., “(Doc. 20, p. 5)”).

       D.     Pinpoint Citations Required – In all Court filings that cite to or rely on
evidentiary materials or legal authority, the filer shall provide pinpoint citations to the
page (and line if available) that supports the fact or legal proposition at issue. General
references to a deposition or case law are inadequate. The Court may disregard any
assertion of fact or law that is not supported by a pinpoint citation.

       E.     Motions to Extend Deadlines and to Continue Proceedings – The
deadlines established in this CMSO are purposeful and are not advisory. See Local
Rule 3.05(c)(2)(E). Thus, the Court generally denies motions to extend such deadlines or
to continue the proceedings. See Local Rule 3.09(a). As noted below—depending on the
deadline at issue—the Court will grant such motions only upon showing of good cause
or manifest injustice.

               1.     Summary Judgment Motions – In light of the Court’s heavy trial
       calendar and the extensive judicial resources and time required to resolve
       summary judgment motions, such motions must be fully and properly briefed at
       least four months before commencement of the trial term assigned in this CMSO.
       Absent a showing that manifest injustice will result, the Court will deny any
       motion for an extension of the dispositive motion deadline that will result in a
       motion for summary judgment being fully-briefed less than four months before
       trial. See Local Rule 3.05(c)(2)(E).

               2.     Continuance of Trial – Absent a showing that manifest injustice will
       result, the Court will deny motions to continue trial. Further, the Court will strike
       a motion to continue trial unless it includes a certification—signed by the moving
       party’s lead trial counsel—affirming that that the moving party has been informed
       of and agrees to the motion to continue trial. See Local Rule 1.09(a).


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               3.     Other Deadlines – Motions to extend other deadlines established in
       this CMSO—especially the discovery deadline—are disfavored and will be denied
       absent a showing of good cause and recitations concerning: (a) whether the motion
       is agreed or opposed; (b) the impact—if any—that the parties expect the deadline
       extension will have on the trial date and summary judgment deadline; (c) the
       specific reasons that any additional discovery is both necessary and could not be
       completed in the time allotted by this CMSO; and (d) the parties’ agreement that
       (i) any evidence obtained in the extended discovery period will be unavailable for
       summary judgment purposes, and (ii) the extension will not be relied on in any
       way to support another motion to continue or to extend a deadline. See Fed. R. Civ.
       P. 16(b)(4); Local Rule 3.09(a).

        F.      Sealing Court Records – Maintaining judicial records under seal is an
administrative burden and is contrary to the public’s right to open judicial proceedings.
Thus, motions to seal should be made sparingly and only after determining that:
(1) the filing of each item to be sealed is necessary to a fair resolution of this matter; (2) the
sealing of each items is necessary to protect an important right—such as the
advantageous commercial advantage afforded by a trade secret or the privacy interests
of vulnerable persons; and (3) the important right at issue cannot be satisfactorily
protected by means other than sealing the record. Further, when filing a request to seal,
the moving party must strictly comply with the pertinent procedural and formatting
instructions set forth in Local Rules 1.09(a) or 1.09(b).

       G.     Protective Orders and Orders Compelling Discovery – The parties must
be diligent in their discovery efforts and—subject to compliance with the Good Faith
Conference and Certification Requirements—must promptly raise any discovery dispute
with the Court. In raising such a dispute, the moving party must comply with the
procedural and formatting instructions set forth in Local Rule 3.04(a). The parties are
advised that the Court routinely denies motions to compel that are filed after the
discovery deadline as untimely.

        H.     Emergency Motions – Promptly after filing an emergency motion, counsel shall
notify the Court by placing a telephone call to the Undersigned’s Courtroom Deputy Clerk (407-
835-4206). Counsel are advised that the designation “emergency” may cause the Court to
abandon other pending matters in order to immediately address the “emergency,” and
the Court will sanction any counsel or party who designates a motion as an “emergency”
under circumstances that are not a true emergency. It is not a true emergency when
counsel has delayed discovery until the end of the discovery period or has otherwise
failed to exercise diligence. In any event, the Court may consider and determine a motion
designated as an “emergency” at any time. See Local Rule 3.01(e).

       I.    Daubert and Markman Motions – Any party seeking a ruling pursuant to
Federal Rule of Evidence 702 and Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579
(1993) (concerning the admissibility of expert opinions) or pursuant to Markman v.


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Westview Instruments, Inc., 517 U.S.370 (1996) (concerning the interpretation of a patent
claim) should file and serve a motion requesting such relief on or before the summary
judgment deadline established in this CMSO. Until the deadline for filing a Response to
a Daubert or Markman Motion, the parties may request an evidentiary hearing and also
may prepare a glossary of technical or scientific terms.

        J.    Motions for Summary Judgment – Absent leave of the Court, no party
shall file more than one (1) motion for summary judgment.

             1.     Format and Supporting Materials – A party’s motion for summary
       judgment and supporting memorandum of law shall be presented in a single
       document of not more than twenty-five (25) pages. This single document shall:

                     a.     include a distinctly identified section specifying the material
                            facts as to which the moving party contends there is no
                            genuine issue for trial together with pinpoint citations to the
                            record evidence;

                     b.     include a memorandum of law with pinpoint citations to
                            supporting legal authority;

                     c.     be accompanied by affidavits and other evidence in the form
                            required by Rule 56.

               2.     Responses – Within thirty (30) days after being served with a
       summary judgment motion, an opposing party may file a Response that shall
       include a distinctly identified section specifying the material facts as to which the
       responding party contends there are genuine issues for trial together with pinpoint
       citations to the record evidence. Failure to timely file a Response may result in the
       entry of judgment for the movant without further proceedings. 7

              3.    Replies – Within fourteen (14) days after being served with a
       Response, the moving party may file a reply memorandum, not exceeding ten (10)
       pages.

              4.     Joint Stipulations of Fact – On or before the deadline to file a
       Response (supra Part III.J.2), the parties may jointly file a stipulation of agreed
       material facts signed by the movant and the responding party (“SJ Stipulation”).
       See Local Rule 4.15. Because the facts must be construed in the light most favorable
       to the non-moving party at the summary judgment stage, the Court will consider
       SJ Stipulations only for purposes of resolving a summary judgment motion. The
       parties are prohibited from citing to SJ Stipulations in any other context. Because


       See Milburn v. United States, 734 F.2d 762, 765 (11th Cir. 1984); Griffith v.
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Wainwright, 772 F.2d 822, 825 (11th Cir. 1985) (per curiam); see also Fed. R. Civ. P. 56(e).

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       SJ Stipulations are likely to expedite the Court’s resolution of a summary judgment
       motion and are inapplicable in any other procedural context, the Court strongly
       urges the parties to jointly file an SJ Stipulation concerning all material facts that
       are supported by the record when viewed in the light most favorable to the non-
       moving party.

              5.    Hearings – Unless specifically ordered, the Court will not hold a
       hearing on the summary judgment motion. Unless a different date is set by the
       Court, motions for summary judgment are taken under advisement forty-five (45)
       days from the date they are served.

        K.     All Other Motions, Including Motions In Limine – On or before the date
 established by this CMSO, the parties shall file and serve all other motions including
 motions in limine. Absent leave of the Court, no party shall file more than one motion
 in limine.

              1.      Responses – Within fourteen (14) days after being served with any
       motion—except a motion for summary judgment (supra Part III.J)—an opposing
       party shall file a Response. See Local Rule 3.01(b).

              2.    Unopposed or “Agreed” Motions – When a moving party includes
       the terms “unopposed” or “agreed” in the title of its motion, the filing will come
       to the Court’s attention prior to the Response deadline. Further, the Court
       routinely grants motions as unopposed when no Response is filed.

               3.      Replies Not Permitted – Absent leave of Court (see supra
       Part III.B.2), a party shall not file a reply to any motion other than a motion for
       summary judgment (see supra Part III.J.3).


                                 IMPORTANT NOTICE
  The Court will strictly enforce the filing requirements for motions and memoranda—
  in particular the pinpoint citation, page limit, and evidentiary support requirements,
  the filing deadlines, and the duplicative filing prohibition. The filing of non-compliant
  documents provides sufficient grounds to strike such documents from the record.



 IV.   MEDIATION

       A.     Purpose

              To minimize costly pre-trial procedures in cases that may be equitably
       settled after discovery, and to secure the just, speedy, and inexpensive


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       determination of this action, all parties shall participate in good faith in mandatory
       mediation. See Local Rules 9.01, 9.05(c).

       B.     Deadlines

              1.     To Schedule Mediation – Within fourteen (14) days of the entry of
       this CMSO, Designated Lead Counsel shall—after conferring with opposing
       counsel and the mediator—file a Notice with the Court advising of the date and
       location of the parties’ mediation.

              2.     To Complete Mediation – The parties shall complete the mediation
       conference on or before the mediation date set in this CMSO. Despite Local
       Rule 9.05(d), neither the mediator nor the parties have authority to continue the
       mediation conference beyond this date except on express order of the Court.

       C.     The Mediator

               1.     Appointment – The parties should identify their preferred mediator
       in their Case Management Report, and the Court prefers to appoint such mediator.
       See Local Rule 9.04(a)(1). If the parties’ Case Management Report does not identify
       a preferred mediator, then the Court will designate a certified mediator for the
       parties. See Local Rule 9.02(b).

              2.      Authority – Except as limited by this CMSO, the appointed mediator
       shall have all powers and authority to conduct a mediation and to settle this case
       as are described in Chapter Nine of the Local Rules. In order to coordinate the
       mediation conference, the mediator may set an abbreviated scheduling conference
       prior to the scheduled mediation. At such time, the mediator may designate one
       or more coordinating attorneys to be responsible for conferring with the mediator
       regarding the mediation conference. If necessary, the coordinating attorney may
       coordinate the rescheduling of a mediation conference within the time allowed in
       this CMSO. The mediation shall continue until adjourned by the mediator. Only
       the mediator may declare an impasse or end the mediation.

             3.     Compensation – Absent agreement of the parties and the mediator,
       and in accordance with Local Rule 9.02(f), mediators shall be compensated at a
       reasonable hourly rate, which shall be borne equally by the parties.

       D.     Mediation Rules and Procedures

              1.     Attendance and Settlement Authority Requirements – Each
       attorney acting as lead trial counsel, and each party (and in the case of a corporate
       party, a corporate representative) with full authority to settle, shall attend and
       participate in the mediation conference. In the case of an insurance company, the
       term “full authority to settle” means authority to settle for the full value of the


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        claim or policy limit. Participants shall be prepared to spend as much time as may
        be necessary to settle the case. No participant may force the early conclusion of a
        mediation because of travel plans or other engagements. The Court will impose
        sanctions upon lead counsel and parties who do not attend and participate in good faith in
        the mediation conference.

                2.     Case Summaries – Not less than two (2) days prior to the mediation
        conference, each party shall deliver a case summary to the mediator (“Summary”).
        The Summary shall: (a) concisely summarize the facts and issues of the case; and
        (b) if a corporate party is involved, identify the name and general job description
        of the employee or agent who will attend and participate with full authority to
        settle on behalf such corporate party.

               3.      Confidentiality of Mediation Conference – All discussions,
        representations and statements made at the mediation conference are privileged
        settlement negotiations and are inadmissible to prove liability for or invalidity of
        a claim or its amount. Except in a supplemental proceeding to enforce a settlement
        agreement, nothing related to the mediation conference shall be admitted at trial
        or be subject to discovery. See Fed. R. Evid. 408; Local Rule 9.07(b).

               4.     Settlement – If the parties agree to a settlement during the mediation
        conference, the parties and their attorneys shall: (a) reduce the agreement to
        writing; (b) sign the written agreement in the presence of the mediator; and
        (c) promptly notify the Court of the settlement. See Local. Rules 3.08(a), 9.06(b).

              5.     Mediator’s Report – Within seven (7) days of the conclusion of the
        mediation conference, the mediator shall file and serve a written mediation report
        pursuant to Local Rule 9.06(a). The mediator also may report any conduct of a
        party or counsel that falls short of a good faith effort to resolve the case by
        agreement or fails to comply with this CMSO. See Local Rule 9.05(e).

 V.     PREPARATION FOR TRIAL

        A.     In Person Pre-Trial Meeting – On or before the date established by this
 CMSO, lead trial counsel and any unrepresented parties shall meet together in person (“Pre-
 Trial Meeting”) to discuss the following matters in a good faith effort to either avoid trial
 or to coordinate a fair, thoughtful, and efficient presentation of the matter at trial.

               1.     Settlement – The parties shall thoroughly and exhaustively discuss
        settlement of the action before undertaking the extensive efforts needed to conduct
        final preparation of the case for trial and to comply with the requirements of this
        CMSO. The parties also should discuss whether assistance from the Court is
        desired—such as referral to a U.S. Magistrate Judge for a settlement conference.




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                2.      Stipulations – The parties shall stipulate to as many facts and issues
        as possible. Parties who have complied with this requirement in good faith will
        file a Joint Final Pretrial Statement listing agreed facts and principles of law other
        than those that remain for determination at trial.

               3.     Depositions – The parties shall advise one another of the depositions
        they will seek to use at trial—including citations to specific pages and lines from
        such depositions. The parties also shall discuss and attempt to resolve any
        objections.

                4.     Witnesses – The parties shall prepare and exchange witness lists,
        which shall include the names and addresses of all witnesses and an indication of
        whether the witness is likely to be called on direct examination. The parties also
        should determine whether they will request that the Court exclude witnesses from
        the trial proceedings in accordance with Federal Rule of Evidence 615.

                5.     Exhibit Lists – The parties shall prepare and exchange draft exhibit
        lists using the form attached to this Order.

               6.    Disclosure Requirements – Without exception, at the Pre-Trial
        Meeting, the parties are required to disclose to one another accurate and complete
        copies of ALL materials they intend to use at trial for any purpose—including
        admission into evidence, tendering to a witness, or presentation to the jury.
        Without limitation, this Pre-Trial Meeting disclosure requirement applies to:

                      a.   Demonstrative Aids; 8

                      b.   Summaries of voluminous materials (see Fed. R. Evid. 1006);

                      c.     All exhibits listed on the parties’ respective exhibit lists,
               including sensitive exhibits (see Local Rule 5.04(a)); and

                       d. All materials and documents that may be tendered to a witness
               at trial for any purpose.




 8It is imperative that the parties disclose their respective demonstrative aids in the exact
 form they will be used at trial. For instance, if the proposed aid is a power point
 presentation, the power point presentation must be shown to the other side in the exact
 manner it will be presented at trial. Likewise, any animations or other active aids must
 be presented as they will be viewed at trial. Mere descriptions, summaries, and examples
 of proposed demonstrative aids are insufficient, and at trial, the Court will exclude any
 demonstrative aid that is not fully and timely disclosed in accordance with the
 requirements of this Order. (See infra Part VIII.A.4.a.)

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                 7.     Marking Exhibits – The parties shall examine and mark the exhibits
          in the manner prescribed by Local Rule 3.07(a) and the attached instructions. Any
          questions concerning the marking of exhibits or the creation of Exhibit Binders (see
          infra Part VII.B) shall be directed to Courtroom Deputy Virginia Flick well in
          advance of trial.

                 8.      Good Faith Conferral Requirement – The parties shall discuss and
          make a good faith effort to resolve disputes concerning: (a) admissibility of all
          exhibits; and (b) use of any demonstrative aids. The Court anticipates that the
          parties will agree to the admission of the bulk of the opposing parties’ exhibits
          without objection. To the extent an objection to an exhibit or demonstrative aid
          cannot be resolved by the parties after diligent and good faith efforts, such
          objection shall be noted on the exhibit lists. Any objection that is not disclosed on
          the exhibit list is waived and will not be considered by the Court.9

                 9.     Order of Proof and Presentation of Evidence – Mindful to the fact
          that the Court requires efficient use of all trial time and that parties must rest their
          case when the party does not have a witness or evidence available to present
          during the hours designated for trial, the parties should discuss any issues that
          may arise concerning witness availability and the order of proof. The parties
          should promptly advise the Court before trial if any request will be made for a
          special accommodation in the presentation of evidence or order of proof. See
          Fed. R. Evid. 611(a). For example, in compelling circumstances, the Court may
          permit presentation of witness testimony in open court by contemporaneous
          transmission from a different location. See Fed. R. Civ. P. 43(a).

                10.      The Joint Final Pretrial Statement (“PTS”) – The parties shall
          discuss all other matters that are pertinent to the preparation and filing of the PTS
          and required attachments thereto. See infra Parts V.B and V.C.



                                     IMPORTANT NOTICE
     The parties must be fully prepared for trial on the deadline set in this CMSO for filing
     the PTS. After that date—and particularly during the Pre-Trial Conference—the parties
     must demonstrate their readiness for trial. Failure to exhibit such readiness constitutes
     a violation of this CMSO.

        B.    The PTS – On or before the date set in this CMSO, the parties must file their
 joint PTS along with all of the required attachments noted infra. Upon such filing, the

 9To avoid delay and confusion, the Court expects that any objection to a demonstrative
 aid shall be raised in the parties’ Motion in Limine. This is particularly true of any
 demonstrative aid that may be used in opening argument or on the first day of trial.

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 pleadings merge into the PTS, and the PTS then controls the trial of this matter. See Local
 Rule 3.01(e). In separately and clearly-denominated sections, the PTS must include:

               1.     a statement of the basis of the Court’s subject matter jurisdiction for
                      each claim at issue (including counterclaims and cross-claims, if
                      any);

               2.     the anticipated length of trial based on the issues remaining at the
                      conclusion of the Pre-Trial Meeting;

               3.     a concise statement of the nature of the action, which the Court may
                      use in voir dire and in its preliminary instructions to the jury;

               4.     brief summaries of the parties’ respective cases;

               5.     a statement of the type and amount of damages sought (if any); and

               6.     a list of all pending motions or other matters requiring action by the
                      Court.

 See Local Rule 3.06(c)(1–3), (c)(7), (c)(14). The PTS also shall include concise statements
 of: (1) the agreed or stipulated facts that will require no proof at trial; (2) the facts that
 remain in dispute for resolution at trial by the fact-finder; (3) the agreed principles of law;
 and (4) the disputed issues of law that remain to be determined by the Court. See Local
 Rule 3.06(c)(9–13). The PTS must be signed by lead counsel for all parties and/or any pro
 se parties (Local Rule 3.06(15)), and it must include all of the attachments noted in Part
 V.C, infra. The Court will strike any PTS (or attachment thereto), which is unilateral,
 unsigned, or otherwise incomplete.

        C.     Attachments to the PTS

                1.     Exhibit Lists – The parties shall prepare joint and individual exhibit
        lists on the Clerk’s approved forms and shall file the lists as attachments to the
        PTS. (See supra Part V.A.3.) The exhibit lists shall include, in the appropriate
        columns: (a) a descriptive notation sufficient to identify each numbered exhibit;
        (b) the identity of the sponsoring witness (if any); (c) specific objections to admission
        of the exhibit with pinpoint citations to pertinent legal authority (e.g., “Federal
        Rule of Evidence __”); and (d) if applicable, a symbol (e.g., “A” or “*”), which
        indicates that the exhibit will be admitted into evidence by agreement or without
        objection. See Local Rule 3.07(b).

                      a.      The Joint Exhibit List of All Stipulated and Unopposed
                              Exhibits – To avoid duplicative trial exhibits and to prevent
                              confusion in the record, the parties shall include all stipulated
                              and unopposed exhibits on a single list (“Joint Exhibit List”).


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                           For example, if no objection is raised to an exhibit of medical
                           records, the exhibit should be marked as a Joint Exhibit
                           during the Pre-Trial Meeting, and it should be listed only on
                           the Joint Exhibit List. No opposed exhibits should be included
                           on the Joint Exhibit List.

                    b.     Individual Exhibit Lists of Opposed Exhibits – Each party
                           shall include on an individual exhibit list only those exhibits
                           to which an opposing party has objected. No party shall
                           include on their Individual Exhibit List any exhibit that: (i) is
                           unopposed or stipulated to (these should be included only on
                           the Joint Exhibit List); or (2) the Court has determined is
                           admissible after objection (which exhibits also should be
                           included only on the Joint Exhibit List). (See infra Part VII.B
                           (describing exhibit binders).)

             2.     Witness Lists

                     a.     Lists A & B – Two witness lists shall be prepared by each
             party and shall be filed as attachments to the PTS. (See supra Part V.A.4.)
             “List A” shall identify the names and addresses of those witnesses who will
             definitely be called to testify on direct examination at trial. “List B” shall
             identify the names and addresses of those witnesses who may be called to
             testify on direct examination at trial.

                   b.     Expert Witnesses – If expert testimony will be presented, then
             an expert witness list must be prepared and filed as an attachment to the
             PTS. The expert witness list must identify each expert and briefly
             summarize the substance of his or her testimony. Local Rule 3.06(c)(6).

                    c.    Rebuttal Witnesses – Parties need not identify or list a true
             rebuttal witness, which is a witness presented in rebuttal and whose
             testimony could not reasonably have been foreseen to be necessary.

                    d.     Record Custodians– Record custodians may be identified on
             a Witness List; however, they are unlikely to be called at trial, except in the
             rare event that the parties are unable to resolve a dispute concerning the
             authenticity or foundation of a trial exhibit.

               3.     Deposition Designations and Color-Coded Transcripts – The PTS
       shall include, as attachments, deposition designations (“Designations”) and color-
       coded deposition transcripts (“Transcripts”), which identify the deposition
       testimony that each party intends to publish to the jury at trial and any unresolved
       objections thereto.



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                     a.      Designations – The Designations shall specify, in separately
              and clearly-identified sections: (1) the reason that the deposition testimony
              will be used instead of testimony of a live witness and the method by which
              the party intends to present the deposition testimony at trial (by videotape,
              read into the record by the Court, etc.); (2) any objection to the use of
              deposition testimony instead of live witness testimony; (3) identification of
              the specific deposition testimony by citation to page and line numbers from
              the deposition transcript; and (4) for any admissibility objections that
              remain after active, substantial, and good faith efforts at resolution,
              identification of the unresolved objection with citation to pertinent legal
              authority (e.g., “Federal Rule of Evidence __”).

                     b.     Transcripts – The color-coded deposition Transcripts
              (preferably mini-script versions) shall be highlighted in different colors to
              indicate the testimony that each party intends to publish at trial. In the
              margins of the color-coded Transcript, the parties also shall note any
              unresolved objections to the highlighted testimony.

              4.      Jointly-Proposed Jury Instructions and Verdict Form – In cases to
       be tried before a jury, the parties shall attach to the PTS a single jointly-proposed
       verdict form and a single set of jointly-proposed jury instructions. See Local
       Rule 5.01(c). The parties must number each proposed instruction and submit them
       in the order they are to be presented to the jury. The Court generally uses its own
       preliminary instructions; thus, the parties’ jointly-proposed instructions should
       cover only the instructions that will be given at the close of the case.

                     a.      Pattern Instructions – The Court prefers the Civil Pattern Jury
              Instructions approved by the United States Court of Appeals for the
              Eleventh Circuit (“Pattern Instructions”). The parties must cite to a Pattern
              Instruction or to other legal authority for each proposed instruction. At the
              Court’s website, the parties can access a copy of the Pattern Instructions and
              also can link to a Jury Instruction Builder that uses the Pattern Instructions:

                            http://www.flmd.uscourts.gov/forms/forms_policies.htm

                            http://pji.ca11.uscourts.gov

                      b.    Contested Instructions – If the parties are unable to resolve a
              dispute concerning a jury instruction despite a good faith effort to do so at
              the Pre-Trial Meeting, the contested charge must be included with the
              jointly-proposed jury instructions. A contested charge must: (i) be clearly-
              marked as contested; (ii) identify the party requesting the charge; and
              (iii) provide summaries of the parties’ respective arguments and legal
              authority in favor of and against the Court’s use of the contested
              instruction. The arguments and legal authorities should be provided


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               immediately after the contested instruction. The Court will deny outright a
               proposed instruction that does not cite to supporting legal authority or is
               “slanted” in any way.

                      c.     Verdict Form – The parties should be considerate of their jury;
               therefore, they should submit a concise and straightforward special verdict
               form. See Fed. R. Civ. P. 49(a).

                5.      Voir Dire – As an attachment to the PTS, the parties may include a
        single list of jointly-proposed questions for the Court to ask the venire during voir
        dire.

        D.     E-Mail to Chambers – On or before the date the parties file the PTS and
 Attachments with the Court, they also must provide the Court with editable copies of the
 following documents in Microsoft Word® format: (1) the PTS; (2) the jointly-proposed
 jury instructions; (3) the jointly-proposed verdict form; and (4) any jointly-proposed
 questions for the venire. These documents should be sent by electronic mail to
 chambers_flmd_Dalton@flmd.uscourts.gov.

         E.    Responsible Parties – All parties are responsible for holding the Pre-Trial
 Meeting and for filing and e-mailing the PTS and attachments in full compliance with
 this CMSO. (Supra Parts V.A, V.B, & V.C.) Plaintiff’s counsel (or plaintiff if all parties are
 proceeding pro se) shall have the primary responsibility to coordinate such compliance. If
 only the plaintiff is proceeding pro se, then the defendant’s counsel shall coordinate such
 compliance. If compliance with these requirements cannot be obtained after good faith
 efforts, the responsible party must promptly notify the Court by written motion or
 request for a status conference.

        F.     Trial Briefs– Trial briefs may be filed with the Court on or before the
 deadline set in this CMSO. In the case of a bench trial, the parties are required to file trial
 briefs with proposed findings of fact and conclusions of law, and they also must e-mail
 editable copies of the trial briefs in Microsoft Word® format to
 chambers_flmd_Dalton@flmd.uscourts.gov.

 VI.    FINAL PRE-TRIAL CONFERENCE

        A.    Lead Trial Counsel and Parties – The Court will conduct a final pre-trial
 conference (“PTC”) on the date set by this CMSO, and lead trial counsel and local counsel
 for each party (if any), together with any unrepresented party, must attend in person
 unless previously excused by the Court.

        B.      Substance of Final Pre-trial Conference – Since this case must be fully
 ready for trial at the time that the PTS is due, at the final PTC, all parties and their counsel
 must be prepared and authorized to take all acts necessary to facilitate the just, speedy,
 and inexpensive disposition of the action, including by: (1) admitting facts and


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 documents to avoid unnecessary proof; (2) stipulating to the authenticity of documents;
 (3) eliminating frivolous, redundant, and unsupported claims; (4) formulating and
 simplifying the remaining issues; (5) arguing pending motions and unresolved
 evidentiary disputes; (6) establishing reasonable limits on the time allowed for trial; and
 (7) addressing settlement. See Fed. R. Civ. P. 16(c)–((d).

 VII.   TRIAL MATERIALS AND EXHIBIT BINDERS

         A.     Trial Materials – The PTC often results in significant changes in the case,
 which require revision of the trial materials previously submitted with the PTS. (See supra
 Part V.B, and V.C.) Thus, on the date set by this CMSO for filing “trial materials,” the
 parties shall exchange and file with the Court revised versions of their: (1) witness and
 exhibits lists; (2) deposition Designations and Transcripts; (3) jointly-proposed jury
 instructions; (4) jointly-proposed verdict form; and (5) proposed voir dire questions (if
 any). On the same date, the parties also shall provide the Court with editable copies of
 the following revised trial materials in Microsoft Word® format: (1) the jointly-proposed
 jury instructions; (2) the verdict form; and (3) questions for the venire. These documents
 must be sent by electronic mail to chambers_flmd_Dalton@flmd.uscourts.gov.

         B.     Exhibit Binders – At the commencement of trial, the parties shall provide
 the Court with binders containing all of the exhibits that may be used at trial. The parties’
 respective individual binders should only include exhibits that are subject to an
 unresolved objection as to admissibility. (See supra Parts V.A.3 and V.C.1.) All other
 exhibits—to which no objection is pending—shall be included in a “Joint Exhibit Binder.”
 All of the Joint Exhibit Binders should be white. All of Plaintiff’s Exhibit Binders should
 be black. All of Defendant’s Exhibit Binders should be a color that is distinguishable from
 the white and black binders (e.g., purple or green).

 VIII. TRIAL



                                   IMPORTANT NOTICE
  The parties and their counsel shall carefully review Local Rule 5.03, which provides
  the minimal standards of Courtroom Decorum. The Court will strictly enforce these
  standards and rules of conduct during trial. In addition, the parties must be mindful
  not to waste the valuable time of the jurors and the Court. Sidebars should rarely be
  requested, and the Court will require that a party rest its case when it does not have a
  witness or exhibit available to present during the time set for trial.

        A.     Trial Before A District Judge




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              1.     The Trial Calendar – On the date that the trial term assigned by this
       CMSO commences, counsel, parties, and witnesses shall be available for trial on
       twenty-four (24) hours notice. The case will normally be called for trial on the first
       day of the assigned trial term or as soon after that date as is possible in light of the
       Court’s criminal and civil trial calendars. Generally, criminal trials are given
       priority and will be held before any civil trial set in the same trial term. Cases not
       reached for trial in the month of the assigned trial term will be carried over to the
       following month on a trailing trial calendar. Issued subpoenas will continue in
       force.

              2.     Reassignments – A different judge—either a visiting judge or
       another District Judge—may be assigned to conduct the trial of this matter. See
       Local Rule 1.03(d). The case may be set for trial in the Orlando Division, Tampa
       Division, Fort Myers Division, Ocala Division, or Jacksonville Division of the
       Court. See Local Rule 1.02(e).

              3.     Conferral with the Courtroom Deputy Clerk & Examination of the
       Courtroom Before Trial – The parties are advised that: (a) the design of certain
       courtrooms may preclude the use of large exhibits and posters in a jury trial; and
       (b) the Court will not provide time during trial for counsel to familiarize
       themselves with the technology and equipment available in the Courtroom.
       Accordingly, prior to trial, the parties are DIRECTED to: (a) contact the trial
       judge’s courtroom deputy clerk to discuss exhibits and equipment to be used
       during trial and to coordinate pre-trial access to the courtroom; and (b) become
       familiar with courtroom and the available technology equipment.

              4.     Evidence Excluded and Objections Waived

                      a.     Exhibits and Trial Materials –The Court WILL SUSTAIN an
              objection to use or admission of any material or exhibit that was not:
              (i) timely and properly produced before the discovery deadline set in this
              CMSO); (ii) presented at the Pre-Trial Meeting (see supra Part V.A.6); and
              (iii) included on the exhibit lists filed with the Court (see supra Part VII.A).
              The Court also will usually overrule objections that were not timely raised
              and specifically stated on the exhibit lists or in a motion in limine. A general
              statement that a party “reserves” its objections is ineffective to avoid
              waiver.

                     b.      Fact Witnesses – Generally, the Court will prohibit the parties
              from calling a witness to testify on direct examination at trial unless the
              witness was: (i) properly and timely disclosed during discovery; (ii)
              identified at the Pre-Trial Meeting; and (iii) included on a witness list filed
              with the Court.




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                       c.     Expert Witnesses – Generally, the Court will prohibit the
               parties from calling an expert witness to testify at trial unless: (i) the witness
               was timely identified as an Expert Witness in accordance with
               Rule 26(a)(2)(A); (ii) an Expert Report or Expert Disclosure was timely
               produced for the witness (see supra Part II.G); and (iii) the witness was
               identified at the Pre-Trial Meeting and disclosed on an expert witness list
               filed with the Court (see supra Part V.C.2.b). Further, on direct examination,
               the Court will strictly limit an expert witness’s testimony to the matters that
               are fully and timely disclosed in an Expert Report or Expert Disclosure. (See
               supra Part II.G.)

         B.     Date Certain Trial Before Magistrate Judge – A case scheduled for trial
 before a U.S. Magistrate Judge will be called for trial on a date certain. With respect to a
 civil case that remains pending before a District Judge as of the date of this CMSO, the
 U.S. District Judges of the Middle District of Florida wish to afford the parties the
 opportunity to consent to proceed before a Magistrate Judge. Consent must be
 unanimous. A U.S. Magistrate Judge is available pursuant to 28 U.S.C. § 636(c) and Rule
 73(a) to conduct all further proceedings (or specified motions) in this case, to conduct a
 jury or non-jury trial beginning on a date certain, and to enter final judgment. A party
 may appeal a final judgment of a Magistrate Judge to the U.S. Court of Appeals for the
 Eleventh Circuit in the same manner as an appeal from the District Court. 28 U.S.C.
 § 636(c)(3); Fed. R. Civ. P. 73. A party is free to withhold consent without adverse
 substantive consequences. 28 U.S.C. § 636 (c)(2); Fed. R. Civ. P. 73(b). Consent forms are
 attached to this CMSO. Local Rule 6.05.

         C.     Settlement – Counsel shall immediately notify the Court upon settlement
 of any case. Local Rule 3.08(a). If the settlement occurs on the eve of trial and will
 eliminate the need for a jury, the parties must notify the Court by 11:30 a.m. on the last
 business day before the date scheduled for jury selection. Failure to provide such timely
 notice to the Court will subject each party to joint and several liability for jury costs.
 Regardless of the status of settlement negotiations, the parties shall appear for all
 scheduled hearings—including the PTC—and for trial, absent the filing of a stipulation
 of dismissal signed by all parties who have appeared in the action (or notice of dismissal
 if prior to answer and motion for summary judgment). Fed. R. Civ. P. 41(a).

        DONE AND ORDERED in Orlando, Florida, this 23rd day of October, 2017.




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 Attachments:           Exhibit List Form [mandatory form]
                        Instructions for Pre-Marking of Exhibits
                        Magistrate Judge Consent / Entire Case
                        Magistrate Judge Consent / Specified Motions

 Copies to:             All Counsel of Record




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                                         EXHIBIT LIST
                               Government                Plaintiff                Defendant                Court



                      Case No.
                      Style:


     Exhibit       Date              Date               Sponsoring          Objections /            Description
     No.           Identified        Admitted           Witnesses           Stipulated              of Exhibit
                                                                            Admissions 1




        1Use a code (e.g. “A” or “*”) in this column to identify exhibits to be received in evidence by agreement
without objections. Otherwise, specifically state each objection to each opposed exhibit. Please note that each
date box on the left must be one inch wide to accommodate the Clerk’s stamp.
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                                                            UNITED STATES DISTRICT COURT
                                                              MIDDLE DISTRICT OF FLORIDA
                                                                           Orlando Division
                                                                     Judge Roy B. Dalton, Jr.



                  NOTICE TO COUNSEL and UNREPRESENTED PARTIES

       Instructions Regarding Pre-Marking Exhibits, Preparation of Exhibit
                             Lists, and Substitution of Exhibits1

The parties shall prepare their trial exhibits in accordance with Local Rule 3.07(a), the Case
Management and Scheduling Order (“CMSO”), and the following instructions.

The parties shall prepare exhibit binders containing all of the exhibits that may be used at trial.
All exhibits to which no objection is pending and all exhibits that are stipulated to shall be
included in a joint exhibit binder (“Joint Exhibit Binder”). Thus, the Joint Exhibit Binder will
contain: (1) exhibits for use by both parties to which no objection is pending; (2) exhibits for
use by Plaintiff/Government to which Defendant does not object; and (3) exhibits for use by
Defendant to which Plaintiff/Government does not object. Exhibits that are subject to an
unresolved objection as to admissibility shall be included in separate binders—one binder
containing exhibits for the Plaintiff/Government’s use (“Plaintiff/Government’s Exhibit
Binder”) and one binder containing exhibits for the Defendant’s use (“Defendant Exhibit
Binder”). (See CMSO, Part VII, B). The Joint Exhibit Binders should be white.
Plaintiff/Government’s Exhibit Binders should be black. Defendant’s Exhibit Binders should be
a color that is distinguishable from the white and black binders (e.g., purple or green).

The parties shall provide three sets of exhibit binders to the Court (exclusive of counsels’
copies). One set shall be supplied to the Courtroom Deputy Clerk (“Official Set”). The Official
Set shall consist of the original exhibits that include appropriately colored exhibit tags stapled
to the upper right hand corner of the first page of the exhibits. The exhibit tags are party-specific
and are further explained below. A second set of binders shall be supplied to the Judge,
together with an index and matrix reflecting any objections thereto for the
Plaintiff/Government’s Exhibit Binder and the Defendant’s Exhibit Binder (“Bench Set”). A third
and final set shall be positioned in the Witness Box at the outset of trial (“Witness Set”). The
Bench and Witness Sets do not require the exhibits tags. However, counsel shall use
numbered tabs to tab out the exhibits for quick reference.

Copies of Court-approved Exhibit Tags and Exhibit Lists can be found on the Court’s webpage
and are self-explanatory. Green tags shall be used for joint exhibits, blue tags for
Plaintiff/Government exhibits and yellow tags for Defendant exhibits. If you have any questions,
contact Courtroom Deputy Clerk Virginia Flick at 407-835-4206. Unrepresented (“pro se”)
parties may obtain additional tags from Ms. Flick.



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 Counsel and pro se parties, if any, are responsible for including a complete list of the exhibit
 number(s) and a detailed description of each exhibit into the attached Exhibit List.

 At the commencement of trial, counsel and pro se parties, if any, shall provide THREE (3)
 COPIES of the Exhibit List and Witness List to the Courtroom Deputy Clerk.

 Exhibit Substitutes – Pursuant to Local Rule 5.04, you are required to offer photographs of
 sensitive or large physical exhibits (i.e., weapons, narcotics, currency, etc.), which will become
 the “substitute exhibit” at the conclusion of the case for maintenance by the Clerk. Rule 5.04
 also requires that 8½” by 11 reductions be submitted along with larger-sized documentary or
 similar exhibits. Unless otherwise ordered by the Court, should an appeal later be filed, the
 Clerk will send the photographic and/or reduced substitutes (in lieu of the original exhibits) to
 the Eleventh Circuit Court of Appeals in the record on appeal.

 Electronic Exhibits – As of December 1, 2016, the Eleventh Circuit Court of Appeals requires
 that the electronic record include all exhibits admitted into evidence at trial or at an evidentiary
 hearing. Therefore, counsel should be prepared to submit in PDF format on a CD or flash
 drive all exhibits marked for identification and/or admitted during trial to the courtroom deputy
 within 7 days following the conclusion of the trial/hearing. Each exhibit is to be saved as a
 separate document, not to exceed 10 MB in size. If necessary to meet the size limitation,
 documents may be separated into subparts such as Exhibit 1-1, 1-2, etc. Counsel will be
 required to submit a certification (attached) that all parties have reviewed the submission and
 agree to its authenticity.

 Audio and/or Visual Equipment – Please note that the Court has a variety of audio and
 visual equipment available for use during trials. At least one week prior to trial, parties intending
 to use such equipment shall notify the Courtroom Deputy Clerk and schedule an appointment
 to come into court and familiarize themselves with the courtroom technology systems. Failure
 to do so may result in the equipment not being available for use during trial.




       1
        These instructions are not all-inclusive; they are purposely general in nature and intended
merely to supplement the Local Rules and Case Management and Scheduling Order (“CMSO”).
Counsel and/or pro se parties are responsible for becoming completely familiar with and fully
complying with the CMSO and Local Rules. Particular attention is drawn to Local Rule 5.03
(“Courtroom Decorum”).




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AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge


                                                        UNITED STATES DISTRICT COURT
                                                         MIDDLE DISTRICT OF FLORIDA
                                                              ORLANDO DIVISION



                                Plaintiff,

v.                                                                                                         Case No



                Defendant.
___________________________________

      NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE
       Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct all
proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment
may then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate
judge may exercise this authority only if all parties voluntarily consent.

        You may consent to have your case referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequences. The name of any party withholding consent will not be revealed to any judge who may
otherwise be involved with your case.

       Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.

              Signatures                                                 Party Represented                            Date




                                                                ORDER OF REFERENCE

       IT IS ORDERED that this case be referred to the UNITED STATES MAGISTRATE JUDGE for all further
proceedings and the entry of judgment in accordance with 28 U.S.C. 636(c), Fed. R. Civ. P. 73.


                 DATE                                                                        UNITED STATES DISTRICT JUDGE
NOTE:     RETURN THIS FORM TO THE CLERK OF THE COURT ONLY IF ALL PARTIES HAVE CONSENTED ON THIS FORM TO THE EXERCISE
          OF JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE.
        Case 6:16-cv-00970-RBD-TBS Document 43 Filed 10/23/17 Page 27 of 27 PageID 195
AO 85A (Rev. 01/09) Notice, Consent, and Reference of a Dispositive Motion to a Magistrate Judge


                                                       UNITED STATES DISTRICT COURT
                                                        MIDDLE DISTRICT OF FLORIDA
                                                             ORLANDO DIVISION

 ,

                                Plaintiff,

v.                                                                                                               Case No:



                Defendant.
___________________________________

      NOTICE, CONSENT, AND REFERENCE OF A DISPOSITIVE MOTION TO A MAGISTRATE JUDGE

        Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to
conduct all proceedings and enter a final order dispositive of each motion. A magistrate judge may exercise
this authority only if all parties voluntarily consent.

       You may consent to have motions referred to a magistrate judge, or you may withhold your consent
without adverse substantive consequences. The name of any party withholding consent will not be revealed to
any judge who may otherwise be involved with your case.

       Consent to a magistrate judge’s consideration of a dispositive motion. The following parties consent to
have a United States magistrate judge conduct any and all proceedings and enter a final order as to each
motion identified below (identify each motion by document number and title).

          MOTION(S)




         Party Represented                                                    Signatures                                    Date




                                                           ORDER OF REFERENCE

       IT IS ORDERED: The motions are referred to a United States magistrate judge to conduct all
proceedings and enter a final order on the motions identified above in accordance with 28 U.S.C. § 636(c).


                 DATE                                                                              UNITED STATES DISTRICT JUDGE
NOTE: RETURN THIS FORM TO THE CLERK OF COURT ONLY IF ALL PARTIES HAVE CONSENTED ON THIS FORM
      TO THE EXERCISE OF JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE.
